     Case 2:11-cv-08214-PJW Document 236 Filed 08/03/18 Page 1 of 4 Page ID #:2326




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16                             UNITED STATES DISTRICT COURT
17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                                    WESTERN DIVISION
19   UNITED STATES OF AMERICA                  Case No. CV 11-08214 PJW
     ex rel. KARIN BERNTSEN,
20                                             NOTICE OF SETTLEMENT
                 Plaintiffs,
21
                        v.
22
     PRIME HEALTHCARE SERVICES,
23   INC., et al.,
24               Defendants.
25
26
27
28
     Case 2:11-cv-08214-PJW Document 236 Filed 08/03/18 Page 3 of 4 Page ID #:2328




 1                                NOTICE OF SETTLEMENT
 2          Qui tam plaintiff Karin Berntsen (“Relator”), the United States of America
 3   (“United States”), defendant Prime Healthcare Services, Inc. and the other corporate
 4   entity defendants in this action (collectively “Prime”), and defendant Dr. Prem Reddy
 5   (“Dr. Reddy”), hereby respectfully inform the Court that, on or about August 3, 2018,
 6   they entered into a written settlement agreement resolving this action (the “Settlement
 7   Agreement”).
 8          Pursuant to the Settlement Agreement, within twenty business days, i.e., by
 9   August 31, 2018, Defendants shall pay the Settlement Amounts to the United States, and
10   Relator’s expenses and costs to the Relator. Upon the United States receiving the
11   Settlement Amounts, and Relator receiving her expenses and costs, the parties will
12   promptly file a Joint Stipulation of Dismissal requesting that the Court dismiss this
13   action in its entirety.
14                                          Respectfully submitted,
15
16   DATED: August 3, 2018                  CHAD A. READLER
                                            Acting Assistant Attorney General
17                                          TRACY L. WILKISON
                                            Attorney for the United States, Acting
18                                          Under Authority Conferred by 28 U.S.C. § 515
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19                                          Chief, Civil Division
                                            DAVID K. BARRETT, AUSA
20                                          Chief, Civil Fraud Section
                                            MICHAEL D. GRANSTON
21                                          DANIEL R. ANDERSON
                                            MARIE V. BONKOWSKI
22                                          VANESSA I. REED
                                            ADAM R. TAROSKY
23                                          BENJAMIN C. WEI
                                            Attorneys, Civil Division
24                                          United States Department of Justice
25                                   By:    /s/ Abraham C. Meltzer
                                            ABRAHAM C. MELTZER
26                                          Assistant United States Attorney
                                            Deputy Chief, Civil Fraud Section
27                                          Attorneys for Plaintiff the
                                            United States of America
28
                                                  1
     Case 2:11-cv-08214-PJW Document 236 Filed 08/03/18 Page 4 of 4 Page ID #:2329




 1
     DATED: August 3, 2018                   JAMES HOYER, P.A.
 2
 3
                                      By:    /s/ Elaine Stromgren
 4                                           ELAINE STROMGREN
                                             Attorneys for Plaintiff Relator
 5                                           Karin Berntsen
 6
     DATED: August 3, 2018                   NELSON HARDIMAN, LLP
 7
 8
                                      By:    /s/ Mark Hardiman
 9                                           MARK HARDIMAN
                                             Attorneys for Defendants
10                                           Prime Healthcare Services, Inc., et al.
11
                                SIGNATURE CERTIFICATION
12
           I hereby attest that all other signatories listed, and on whose behalf this filing is
13
     submitted, concur in the filing’s content and have authorized the filing.
14
15
     DATED: August 3, 2018            By:    /s/ Abraham C. Meltzer
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17                                           Deputy Chief, Civil Fraud Section
                                             Attorneys for Plaintiff the
18                                           United States of America
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